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GR: Soki, Simeoy

SIGN IN SHEET FOR C.A. 05-4182 “K”(2)

FRIDAY, MARCH 7, 2008 AT 10:00 A.M.

IN RE; KATRINA CANAL BREACHES CONSOLIDATED LITIGATION —
PARFAIT (Ref: CA 07-3500) - STATUS CONFERENCE IN RE: MRGO AND BARGE,

DOC. 11449
. ATTORNEY PARTY
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